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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION

                            §
FRESENIUS KABI USA, LLC and §
FRESENIUS KABI DEUTSCHLAND §
GMBH                        §
                            §
         Plaintiffs,        §                   Civil Action No. 1:18-cv-00665-LY
                            §
    v.                      §                   PATENT CASE
                            §
CUSTOPHARM, INC.,           §
                            §
         Defendant.


   UNOPPOSED MOTION TO EXTEND DEADLINE TO RESPOND TO
              DEFENDANT’S COUNTERCLAIMS
      Custopharm filed its Answer with counterclaims on May 1, 2019 to

plaintiffs’ Amended Complaint. Dkt. 40-1 (sealed pleading). After conferring

about the schedule, the parties have agreed, subject to the Court’s approval, to set a

deadline of June 5, 2019, for Plaintiffs to answer or otherwise respond to

Custopharm’s counterclaims. This extension is sought to allow time to evaluate

new counterclaims and not for the purpose of delay.

      Accordingly, Plaintiffs request an extension of time till June 5, 2019 to

answer or otherwise respond to Custopharm’s counterclaims.




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Filed: May 10, 2019

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                          CERTIFICATE OF SERVICE

      I certify that on May 10, 2019, I electronically filed the above documents

with the Clerk of Court using CM/ECF, which will send electronic notification of

such filings to all registered counsel.

                                          /s/ Cabrach Connor
                                          Cabrach J. Connor




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